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     AO 93 (Rey. 12/09) Search and Seizure Warrant (USAO CDCA Rev. 01/2013)



                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                                Central District of California
                                                                                                                 ORIGINAL
                        In the Matter of the Search of
                    (Briefly describe the property to be searched
                     or identify the person by name and address)                       Case No. 2:18-MJ-02943
     A black suitcase with blue trim bearing Amtrak Lost Article
          Check #20-93-05, as described in Attachment A


                                                  SEARCH AND SEIZURE WARRANT
     To:       Any authorized law enforcement officer

              An application by a federal law enforcement officer or an attorney for the government requests the search
     of the following person or property located in the         Central           District of           California
     (identifr the person or describe the property to be searched and give its location):
           See Attachment A

               The person or property to be searched, described above, is believed to conceal (ident( the person or describe the
    properly to be seized):
           See Attachment B


             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property. Such affidavit(s) or testimony am incorporated herein by reference and attached hereto.

               YOU ARE COMMANDED to execute this warrant on or before                             14 days from the date of Its Issuance
                                                                                                              (not to exceed 14 days)
           0 in the daytime 6:00 a.m. to 10 p.m.                    0 at any time in the day or night as I find reasonable cause has been
                                                                       established.

             Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
     inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
     on duty at the time of the return through a filing with the Clerk's Office.
                                      (name)

           0 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
     of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
     searched or seized (check the appropriate box) 0 for              days (nor to exceed 30).
                                                    0 until, the facts justifying, the later specific date of

     Date and time issued: I t / 1—/ Z 0 /                                  f • At •
                                                                                                        Judge's signature


     City and state:       Los Angeles, California                                               Hon. Alexander F. MacKinnon
                                                                                                      Printed name and title



AUSA: B. Balding, x2274
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                                                                          Return
      Case No.:                     Date and time warrant executed:    Copy of warrant and inventoty left with:
      2:1B-MJ-02943                  /i/S-4.043      / 0:000-K-64'19
     Inventoty made in the presence of:
                            CNA r e,tcy        Q€ c.404aet
     Inventoty of the property taken and name of any person(s) seized:                                        .
     (Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
     seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
     volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.)




                                              S as-           4.14-ea_ckg-ot .




                                                                       certification (by officer present during the execution of the warrant)

     I declare under penalty of petjury that I am an officer who executed this warrant and that this inventoly Is correct and
     was returned along with the original warrant to the designated judge through a filing with the Clerk's Office.


                                                                                                                               ..,
     Date:        1 21'5/ It
                                                                                               Executing officer's signature

                                                                                              a-04 etc" gc,M-r/ 5 p6"-c_14-1- 1VAex.17-
                                                                                                  Printed name and tide




AUSA: B. Balding, x2274
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                                 ATTACHMENT A
   ITEM TO BE SEARCHED
         The SUBJECT SUITCASE
        A black suitcase with blue trim bearing Amtrak Lost Article
   Check #20-93-05. The suitcase has a silver emblem affixed to
                       -



   the front with the letters "OPLINE" on it.




                                                   II




                                       1
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                                 ATTACHMENT B
   ITEMS TO BE SEIZED
         The following items are to be seized from the suitcase
   described in Attachment A, which constitute evidence, fruits,
   and instrumentalities of violations of Title 21, United States
   Code, Sections 846 and 841(a)(1) (Conspiracy to Possess and
   Distribute and Possession with Intent to Distribute and
   Distribution of a Controlled Substance):
              a.    Any drugs;
              b.    Any counterfeit drugs;
              c.    Any documents, ledgers, or other writings related
   to drug trafficking;
              d.    Currency, money orders, bank checks, or similar
   monetary instruments in quantities over $1,000; and
              e.    Packaging material.
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                          RETURN FOR SEARCH WARRANT

          This return is being submitted pursuant to Federal Rule of
Criminal Procedure 41 ( f ) (2) in relation to the court-authorized
warrant in case no. 18-MJ-02943 (the "Warrant") .The Warrant was signed on
November 2,2018 by the Hon. Alexander MacKinnon, United States Magistrate
Judge.
              The Warrant authorized the search of a black suitcase with blue
trim bearing Amtrak Lost Article Check #20-93-05 (the "SUBJECT SUITCASE") ,
as described in the Warrant . The warrant was executed on November 5,2018 at
approximately 10:00 a .m. and the following
items were seized pursuant to the warrant:


       1) The SUBJECT SUITCASE with various articles of clothing

         inside.

       2)A package removed from the SUBJECT SUITCASE containing 801.3

          grams of methamphetamine.
       This inventory was prepared in the presence of Special Agent

Courtney Boeckman. I declare under penalty of perjury that I am an

officer involved in the execution of this warrant, that this is a

true inventory of the search of the SUBJECT SUITCASE pursuant to the
Warrant, and that this was returned along with the Warrant to the

designated judge through a filing with the Clerk's Office.




       /177,13(7-425
DATE                                  Ge6f-ge' ai, Task Force Officer
                                      Drug E forcement Administration
